      Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 1 of 54 PageID #:1




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MISSION MEASUREMENT
CORPORATION and MISSION METRICS,
LLC,
                                                            Civil Action No. ___________
                                                                             1: 16-cv-06003
                           Plaintiffs,
                                                            COMPLAINT AND DEMAND
v.
                                                            FOR JURY TRIAL
BLACKBAUD, INC. & MICROEDGE LLC,

                           Defendants.



       Plaintiffs Mission Measurement Corporation (“Mission Measurement”) and Mission

Metrics, LLC (“Mission Metrics” and collectively with Mission Measurement, “Plaintiffs”)

allege as follows against Defendants Blackbaud, Inc. (“Blackbaud”) and MicroEdge, LLC

(“MicroEdge” and collectively with Blackbaud, “Defendants”):

                                  NATURE OF THE ACTION

       1.      This is an action by Mission Measurement and Mission Metrics for breach of

contract, trade secret misappropriation, promissory estoppel and unjust enrichment. After years

of stringing Mission Measurement along and extracting key ideas, data and designs from

Plaintiffs, Defendants purloined the fruit of Plaintiffs’ labor and launched a jointly developed

product as their own.

                                           PARTIES

       2.      Mission Measurement Corporation, formerly known as and successor in interest

to Mission Measurement, LLC, is a corporation organized under the laws of Delaware with a

principal place of business at 200 North LaSalle St., Suite 2650, Chicago, Illinois 60601.




                                                1
      Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 2 of 54 PageID #:2




         3.    Mission Metrics, LLC is a limited-liability company organized under the laws of

Illinois with a principal place of business at 200 North LaSalle St., Suite 2650, Chicago, Illinois

60601. Mission Metrics, LLC and Mission Measurement Corporation are sister companies.

         4.    Blackbaud, Inc. is a corporation organized under the laws of Delaware with a

principal place of business at 2000 Daniel Island Drive, Charleston, South Carolina 29492.

         5.    MicroEdge, LLC is a limited liability company organized under the laws of New

York with a principal place of business at 619 W. 54th Street, 10th Floor, New York, New York

10019.

                                 JURISDICTION AND VENUE

         6.    The Court has subject matter jurisdiction over this action.

         7.    This trade secret misappropriation action raises a federal question under the

Defend Trade Secrets Act of 2016, 18 U.S.C. § 1831 et seq. The Court has supplemental

jurisdiction over Plaintiffs’ other claims pursuant to 28 U.S.C. § 1367.

         8.    Venue and jurisdiction before this Court are proper because Mission

Measurement and Defendant MicroEdge are parties to the Confidentiality and Nondisclosure

Agreement (the “Confidentiality Agreement”) dated June 26, 2012, which provides, inter alia,

that MicroEdge will not challenge the jurisdiction or venue of this Court. A true and correct

copy of the Confidentiality Agreement is attached hereto as Exhibit 1. Blackbaud acquired

MicroEdge in 2014 and is therefore likewise bound by the Confidentiality Agreement.

         9.    Venue is also proper in this district under 28 U.S.C. § 1391 because a substantial

part of the events giving rise to the claims asserted herein occurred in this district.

         10.   The Court has personal jurisdiction over Defendants.

         11.   On information and belief, Defendants have conducted and currently conduct

business within the State of Illinois.          MicroEdge representatives traveled to Mission
                                                   2
      Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 3 of 54 PageID #:3




Measurement’s Chicago office to negotiate the Confidentiality Agreement and attended several

meetings there relating to joint product development efforts, additional contract negotiations and

other business.

        12.       On information and belief, Defendants directly or through intermediaries

(including distributors, retailers, and others) transmit, ship, distribute, offer for sale, sell and

advertise (including through interactive web pages) their products and services in the State of

Illinois and the Northern District of Illinois.

        13.       On information and belief, Defendants have purposefully and voluntarily placed

what they purport to be their solely owned products and services, including “Blackbaud

Outcomes,” into the stream of commerce with the expectation that they will be purchased and

used by customers located in the State of Illinois and the Northern District of Illinois.

                                          BACKGROUND

       Mission Measurement and the Development of its Extensive Intellectual Property

        14.       Mission Measurement is the market leader in social sector data and insights

relating to social change programs aimed at addressing some of the world’s biggest challenges

such as poverty, hunger, access to healthcare and climate change.             One goal of Mission

Measurement is to change the way corporations, governments, foundations and non-profits

invest in philanthropic causes by using data to measure and forecast social impact program

outcomes.

        15.       Using data collected from social program evaluations, Mission Measurement

compiled a database of over 75,000 different data points, which it categorized into about 130

social outcome types. These data are used to grade whether a particular program will achieve its

objectives, the average expected cost to do so and the total number of people served by the



                                                  3
      Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 4 of 54 PageID #:4




program. Thus, Mission Measurement helps its customers make better investment decisions to

maximize return on investment.

       16.      Over the last eleven years, Mission Measurement has developed its proprietary

database, the Outcome TaxonomyTM, which required more than six people to develop and

implement Mission Measurement’s vision for database and software products and methods to

gauge social impact. Mission Measurement’s novel software solution for its clients includes the

Outcome Taxonomy, an evidence base, a data collection unit, a metric calculations unit, and a

benchmark database. Certain aspects of Mission Measurement’s system are detailed in U.S.

Patent Application Ser. No. 14/137,580 entitled “System and Method for Analyzing and

Predicting the Impact of Social Programs,” filed on December 20, 2013. The application, which

published on September 18, 2014 as U.S. Pub. No. 2014/0278756, claims priority to an earlier

provisional application No. 61/793,908 filed on March 15, 2013. The application is pending at

the U.S. Patent and Trademark Office. The application is assigned to Mission Metrics.

                          History of the Negotiations with MicroEdge

       17.      MicroEdge is a provider of software solutions to automate the charitable giving

process.     On or about February 29, 2012, Alan Cline, Principal at Vista Equity Partners

(“Vista”), contacted Mission Measurement’s CEO Jason Saul for Mission Measurement’s

assistance in helping MicroEdge develop a way to measure outcomes. Vista is a private equity

firm that held significant investments in MicroEdge.

       18.      On information and belief, Vista and MicroEdge knew that MicroEdge had little

to no knowledge or experience in measuring outcomes from philanthropic programs and

managing the associated data. They needed Mission Measurement’s expertise and pursued a

partnership. Mr. Cline’s initial contact led to a series of communications between Mission

Measurement and MicroEdge with the goal to jointly develop and jointly own a new software
                                               4
      Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 5 of 54 PageID #:5




application based on Mission Measurement’s trade secrets, the Outcome Taxonomy and other

intellectual property.

       19.      On information and belief, Vista had significant concerns about obtaining a return

on its investment in MicroEdge and wanted MicroEdge to innovate. Unable to effectively do so

on its own, MicroEdge, through Vista, sought out Mission Measurement.                Because, on

information and belief, MicroEdge would soon be put up for sale, Vista and MicroEdge needed

new products to increase the enterprise value for the sale.

       20.      On or about March 16, 2012, MicroEdge’s CEO Preston McKenzie

communicated to Mr. Saul MicroEdge’s desire to engage Mission Measurement to help it

develop a software product to measure outcomes. Mr. Saul made it clear in the conversation that

Mission Measurement had long considered developing a software application for its own

commercialization and would not be interested in “helping” MicroEdge develop a product unless

Mission Measurement received equity in MicroEdge or royalties based on sales of the software

product.

       21.      Thereafter, in April and May 2012, Messrs. McKenzie and Saul had additional

discussions in which terms of an agreement were discussed, and in which Mr. McKenzie

confirmed MicroEdge’s interest in proceeding to negotiate an agreement with Mission

Measurement to jointly develop a product and share revenues.

       22.      To protect the confidential and proprietary nature of such discussions, Mission

Measurement and MicroEdge executed the Confidentiality Agreement dated June 26, 2012

(Exhibit 1). Among other terms, it includes provisions that:

                a.       prohibit the use and disclosure of confidential information to any third

       party;



                                                 5
     Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 6 of 54 PageID #:6




               b.     acknowledge that all disclosures made by Mission Measurement to

       MicroEdge before June 26, 2012, constitute protected confidential information under the

       agreement, including but not limited to high-level software design specifications for

       functionality related to measuring social impact, outcome taxonomies, impact reports and

       analytics, and business models for selling access to metrics databases;

               c.     provide for damages and injunctive relief in the event of a breach;

               d.     state that Illinois law governs; and

               e.     provide that the parties consent to the jurisdiction and venue of the state or

       federal courts located in Chicago, Illinois relating to lawsuits arising from the agreement.

       23.     On August 18, 2012, approximately two months after execution of the

Confidentiality Agreement, Mission Measurement sent MicroEdge an email with attachments

describing the joint project.   The attachments included confidential information such as a

taxonomy sample and screenshots of an outcomes prototype as well as aspects of Plaintiffs’

system that are not described in the patent applications. Mission Measurement also provided

MicroEdge with confidential information and product design specifications on numerous other

occasions, for example, on or about July 10, 2012, August 13, 2012, August 16, 2012, and in

September-October 2012.

       24.     In the Fall of 2012, Mission Measurement and MicroEdge conducted focus

groups to determine market demand and test potential client response for their jointly developed

product.     During that time, Mission Measurement and MicroEdge negotiated a Joint

Development Agreement (“JDA”), which specified that the software was jointly owned by the

parties to that agreement, that Mission Measurement exclusively owns the Outcomes Taxonomy

and that MicroEdge would pay royalties as well as a development fee to Mission Measurement



                                                6
      Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 7 of 54 PageID #:7




upon commercialization.        While not ultimately executed (notwithstanding Mission

Measurement’s consistent and persistent efforts to consummate such contract), the JDA

evidences the parties’ intent to contract and the terms on which their business venture was

clearly predicated.

       25.     On or about October 16, 2012, Mission Measurement and MicroEdge jointly

presented their product prototype before a focus group of their clients and potential clients who

were bound by confidentiality.     The Outcome Taxonomy™ was specifically identified as

Mission Measurement’s intellectual property. Consequently, before and during the focus group

presentations, MicroEdge explicitly acknowledged that the Outcomes Taxonomy™ and other

intellectual property originated solely from Mission Measurement.

       26.     As evidenced above and throughout the course of dealing, MicroEdge repeatedly

recognized the significant value of Mission Measurement’s intellectual property and its

criticality to the joint software product.    Accordingly, in 2012 and early 2013, Mission

Measurement and MicroEdge began discussing the terms of a definitive agreement to

memorialize their understanding that the software product being developed was and is jointly

owned and that they share the revenues based on the sales of the product.

       27.     As of January 2013, Mission Measurement and MicroEdge had reached an

agreement on these essential terms but other terms and conditions were to be finalized. The

parties, particularly MicroEdge, wanted to finalize the product and launch it as soon as possible.

To that end, on or about January 16, 2013, Mission Measurement and MicroEdge executed a

Letter of Intent as an interim agreement prior to the execution of a definitive agreement.

Because Blackbaud acquired MicroEdge in 2014, it is also bound by the Letter of Intent.




                                                7
      Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 8 of 54 PageID #:8




       28.     Mission Measurement and MicroEdge agreed that the terms and conditions of the

Letter of Intent are confidential, but among other provisions, the Letter of Intent requires that

Mission Measurement and MicroEdge:

               a.        collaborate on joint software product development combining Mission

       Measurement’s trade secrets and intellectual property and MicroEdge’s existing software;

               b.        keep confidential the proprietary information provided to the other;

               c.        negotiate in good faith to finalize the definitive agreement;

               d.        are barred, in the event no definitive agreement is executed and the parties

       terminate the Letter of Intent, for a certain period following termination of the Letter of

       Intent from directly or indirectly providing, marketing or selling any product, device,

       service or instrument that is substantially similar to the jointly developed software

       (hereafter the “Non-Compete”);

               e.        certify that each has returned or destroyed all confidential information in

       their possession upon termination;

               f.        keep and hold all confidential information received in the strictest

       confidence and refrain from using the same for any purpose both during the term and

       thereafter; and

               g.        not sell, reverse engineer, disclose to third parties, modify or adapt, or

       write or develop derivative works of each other’s trade secrets and other intellectual

       property, whether on their own or through affiliates, employees, consultant, contractors,

       agents or other third parties.

       29.     Significantly, the Letter of Intent explicitly acknowledged the joint nature of the

product in terms of joint product development, joint technology development and joint sales



                                                   8
      Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 9 of 54 PageID #:9




pitch meetings. However, the Outcomes Taxonomy is clearly stated as Mission Measurement’s

sole property.

       30.       After execution of the Letter of Intent on January 16, 2013, Mission Measurement

and MicroEdge continued to share intellectual property and develop a project plan. On or about

February 19, 2013, MicroEdge’s development team visited Mission Measurement in Chicago

where Mission Measurement shared additional confidential information. At that time, Mission

Measurement and MicroEdge engaged in an extensive brainstorming session related to the joint

development of the software product. They discussed a broad array of issues including, but not

limited to, a 90-day project plan, a long-term project plan, product design, gap analysis, technical

requirements, business case scenarios, revenue sharing models between Mission Measurement

and MicroEdge, product pricing, customer lists and customer segmentation.

       31.       Multiple meetings and telephone calls ensued after the February 2013 meeting to

develop and finalize the product.      Mr. Saul and others at Mission Measurement provided

substantial and essential feedback and oversight.

       32.       Mission Measurement and MicroEdge worked in close collaboration for over two

years, from June 2012 through May 2014, with Mission Measurement educating MicroEdge’s

software engineers and executives on Mission Measurement’s intellectual property, including its

Outcomes Taxonomy, that would be integrated into the jointly owned software product.

       33.       Among other confidential and proprietary information shared with MicroEdge

from 2012 to 2014, Mission Measurement disclosed:

                 a.     a specialized Outcomes Taxonomy;

                 b.     a method for collecting standardized data;

                 c.     a method for calculating grantee impact;



                                                 9
    Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 10 of 54 PageID #:10




               d.      software design specifications;

               e.      impact reports and analytics; and

               f.      business models for selling access to metrics databases.

       34.     Other confidential information disclosed by Mission Measurement to MicroEdge

in 2012 to 2014 included drawings, sketches, designs, screen mock-ups, measurement concepts

and calculations, business plans, and product development plans. Certain of these aspects of

Mission Measurement’s intellectual property were not included in the patent application filings

because Mission Measurement kept them as trade secrets as permitted under patent law.

       35.     During all relevant times herein, Mission Measurement maintained in secret the

proprietary and confidential information disclosed to MicroEdge. Mission Measurement has

derived and continues to derive significant value from the secrecy of its trade secrets. Mission

Measurement has taken reasonable steps to maintain the secrecy of the confidential information

described herein.

       36.     During all relevant times herein, MicroEdge and Mission Measurement intended

that the software product be a joint offering. In fact, MicroEdge and Mission Measurement

pitched the joint product to clients and client prospects.

                                    The Set-Up by Defendants

       37.     Despite MicroEdge’s representations and conduct, the Letter of Intent was a set-

up. MicroEdge failed to act in good faith in negotiating the definitive agreement. Instead,

MicroEdge embarked on an intentional and consistent strategy of delay and obfuscation in its

communications with Mission Measurement.

       38.     Attached as Exhibit 2 is a true and correct copy of an email string from April and

May 2014 between Kristin Nimsger, CEO of MicroEdge, and Jason Saul of Mission



                                                 10
    Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 11 of 54 PageID #:11




Measurement. Among other things, in this string Mr. Saul asked Ms. Nimsger if MicroEdge is

“still intending to proceed.” Ms. Nimsger replied: “Yes Jason.”

       39.     However, after the May 2014 email exchange between Mr. Saul and Ms. Nimsger

and a June 18, 2014 telephone call among Mr. Saul, Ms. Nimsger and Charles Vanek of

MicroEdge, MicroEdge ceased all communications with Mission Measurement, which heard

nothing further until September 3, 2014.

       40.     On September 3, 2014, Mr. Saul saw news reports that MicroEdge was sold to

Defendant Blackbaud for $160 million. Exhibit 3 is a true and correct copy of MicroEdge’s

press release dated September 2, 2014. Charles Vanek, MicroEdge’s then Vice President of

Business Development, forwarded a news report of the sale to Mr. Saul. Attached as Exhibit 4 is

a true and correct copy of an email string between Messrs. Saul and Vanek dated September 3,

2014. Among other things, Mr. Vanek invited Mr. Saul to call him, as they “should talk rather

than write.” Mr. Vanek further stated that the “radio silence over the last several months was

due to this deal.” Then, on September 5, 2014, Messrs. Saul and Vanek had a telephone

conversation during which Mr. Vanek stated that the acquisition was a “good thing” for Mission

Measurement and that he expected that their joint product would be brought to market even more

successfully with Blackbaud’s large user base and support. At no time during the call, or on any

of their prior calls on February 13, 2014, March 5, 2014 and June 18, 2014, did Mr. Vanek state

that the Letter of Intent or Confidentiality Agreement were terminated, or that Defendants would

not honor their promise to share in the revenue of the joint product.

       41.     In fact, at no time did Defendants terminate the Letter of Intent or the

Confidentiality Agreement. On the contrary, after the execution thereof and during all relevant

times herein, MicroEdge’s course of dealing with Mission Measurement gave every indication



                                                11
    Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 12 of 54 PageID #:12




that such agreements were still in effect. MicroEdge’s statements and course of dealing made

clear that Mission Measurement would share in the financial rewards from the joint product.

       42.     In addition, Defendants have not certified that they have returned or destroyed

Mission Measurement’s confidential information.

       43.     On October 26, 2015, Defendants issued a press release that “unveiled its

transformational outcomes solution” featuring “a first-of-its-kind outcomes measurement

taxonomy.” Attached as Exhibit 5 is a true and correct copy of the press release. No mention

was made of Mission Measurement. On information and belief, the referenced “outcomes

solution” is the joint product covered by the Confidentiality Agreement and Letter of Intent.

Defendants’ actions in this regard clearly violate the Non-Compete.

       44.     In or about Fall 2015, without Mission Measurement’s or Mission Metrics’

knowledge or permission, MicroEdge began marketing the jointly developed software solution.

                               Defendants’ Surreptitious Activity

       45.     As described above, Defendants blatantly re-characterized the joint product as

their own and secretly behaved as if the prior two and one-half years’ of close work with Mission

Measurement never happened.

       46.     On information and belief, MicroEdge, beginning on or about May 2014,

executed a plan to misappropriate Mission Measurement’s trade secrets and other intellectual

property and repackage them as its own. Unbeknownst to Mission Measurement, MicroEdge

was in the process of being acquired by Blackbaud during this period when it intentionally

misled Mission Measurement that negotiations continued.             Thus, MicroEdge had every

motivation to cut Mission Measurement out of the significant financial rewards attributable to

the joint product.



                                               12
    Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 13 of 54 PageID #:13




       47.     Vista’s and MicroEdge’s plan to pump up MicroEdge’s value worked.               On

information and belief, during the sale process to Blackbaud, the joint software product was

attributed tens of millions of dollars in value. Moreover, on information and belief, during the

sale process, either MicroEdge failed to disclose Mission Measurement’s rights under the

agreements and intellectual property rights, or Blackbaud knew of such rights and Defendants

fashioned a strategy to exclude Plaintiffs.     In either case, Mission Measurement has been

damaged at a minimum for not receiving at least half of the value attributed to the joint product

in the acquisition of MicroEdge by Blackbaud.

                      Blackbaud’s Acquisition and Sale of Stolen Product

       48.     As described above, in 2015, Defendants brazenly launched the joint product

embodying Mission Measurement’s essential intellectual property as Defendants’ own. Again

violating the Non-Compete and other terms of the operative agreements, on February 4, 2016,

Defendant Blackbaud issued a press release announcing the “general availability of Blackbaud

OutcomesTM, its transformational cloud solution. . . .” Attached as Exhibit 6 is a true and correct

copy of the release. Blackbaud currently markets “Blackbaud Outcomes,” which, on information

and belief, embodies most if not all of the joint product offering developed by Mission

Measurement and MicroEdge during 2012 to 2014 including Mission Measurement’s Outcome

Taxonomy, trade secrets and other intellectual property. Again, Mission Measurement received

no attribution or remuneration.

       49.     As evidenced in Exhibit 6, Defendants’ misappropriation is blatant and devoid of

any attribution to Mission Measurement. Such willful misrepresentations in Exhibit 6 are further

evidenced by the identical nature of Defendants’ software product and the product developed by

and with Mission Measurement. For example,



                                                13
    Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 14 of 54 PageID #:14




              a.      The product that Mission Measurement jointly developed with MicroEdge

       is identical to the final “Blackbaud Outcomes” product; and

              b.      Blackbaud’s “Outcomes Taxonomy” is entirely based on Mission

       Measurement’s trade secrets and other intellectual property, which were shared to

       MicroEdge under the Confidentiality Agreement and Letter of Intent as well as

       throughout the course of dealing between the parties.

       50.    Consequently, the bait and switch is undeniable: Mission Measurement was lured

into disclosing its trade secrets and intellectual property based on a false promise of joint

ownership and royalties. At no point did Defendants communicate that the parties’ negotiations

had ended, let alone claim that the confidentiality and non-compete obligations had terminated or

expired. In fact, Defendants continue to market the jointly developed product as their own on

Defendants’ website and in its promotional videos. Exhibit 7 includes true and correct copies of

screenshots from Defendants’ public YouTube demonstration. Defendants’ sales volume of its

misappropriated “Blackbaud Outcomes” product is not public but will be established during

discovery.

       51.    On or about February 8, 2016, counsel for Mission Measurement sent a letter

notifying Blackbaud of, inter alia, Defendants’ theft and misappropriation of Mission

Measurement’s intellectual property in clear breach of Defendants’ contractual obligations.

       52.    On or about February 16, 2016, counsel for Blackbaud responded by denying the

allegations and suggesting that the publication of Mission Metrics’ patent application somehow

insulated Defendants from their blatant copying and theft of Mission Measurement’s intellectual

property.




                                               14
    Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 15 of 54 PageID #:15




     COUNT I – BREACH OF THE CONFIDENTIALITY AND NONDISCLOSURE
                             AGREEMENT

       53.       Plaintiffs re-allege and incorporate by reference the allegations of Paragraphs 1

through 52 above as though fully set forth herein.

       54.       The Confidentiality Agreement is a valid, enforceable written contract, with

definite and certain terms.

       55.       Mission Measurement has performed and is still performing all of its required

obligations under the Confidentiality Agreement.

       56.       As stated above, Defendants have breached the Confidentiality Agreement by,

inter alia, misappropriating Plaintiffs’ confidential information without Plaintiffs’ consent, by

disclosing Plaintiffs’ confidential information to third parties and as further described herein.

       57.       As a result of Defendants’ violation of the Confidentiality Agreement, Mission

Measurement and Mission Metrics have suffered damages in an amount to be determined at trial.

             COUNT II – BREACH OF CONTRACT – LETTER OF INTENT

       58.       Plaintiffs re-allege and incorporate by reference the allegations of Paragraph 1

through 57 above as though fully set forth herein.

       59.       The Letter of Intent is a valid, enforceable written contract with definite and

certain terms.

       60.       Mission Measurement has performed and is still performing all of its required

obligations under the Letter of Intent

       61.       As stated above, among other provisions, Defendants have breached the Letter of

Intent’s non-compete and confidentiality provisions.

       62.       As a result of Defendants’ violation of the Letter of Intent, Mission Measurement

and Mission Metrics have suffered damages in an amount to be determined at trial.


                                                 15
    Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 16 of 54 PageID #:16




      COUNT III – TRADE SECRET MISAPPROPRIATION – 18 U.S.C. § 1836(b)

       63.     Plaintiffs re-allege and incorporate by reference the allegations of Paragraphs 1

through 62 above as though fully set forth herein.

       64.     Mission Measurement is the owner of valuable trade secrets related to products

and services used in, or intended for use in, interstate or foreign commerce. Such trade secrets

comprise Mission Measurement’s financial, business, scientific, technical, economic and

engineering information, including but not limited to plans, compilations, program devices,

formulas, designs, prototypes, methods, techniques, processes, procedures, programs and codes,

both tangible and intangible and stored, compiled and memorialized physically, electronically

and graphically.

       65.     Mission Measurement and Mission Metrics have taken reasonable measures to

keep such information secret.

       66.     Mission Measurement’s trade secrets derive independent economic value, actual

or potential, from not being generally known to, and not being readily ascertainable through

proper means by, another person who can obtain economic value from the disclosure or use of

the information.

       67.     Defendants disclosed and used Mission Measurement’s trade secrets without

Mission Measurement’s express or implied consent. Defendants used improper means to acquire

knowledge of the trade secrets by failing to abide by the Confidentiality Agreement, the Letter of

Intent and otherwise.

       68.     Defendants knew or had reason to know at the time of disclosure or use that their

knowledge of the trade secrets was derived from or through Plaintiffs, and Defendants used

improper means to acquire the trade secrets.         Defendants acquired the trade secrets under

circumstances giving rise to a duty to maintain the secrecy of the trade secrets or limit the use of
                                                16
     Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 17 of 54 PageID #:17




the trade secrets. Defendants owed a duty to Mission Measurement to maintain the secrecy of its

trade secrets or limit the use thereof.

          69.   Defendants’ improper means in disclosing Mission Measurement’s trade secrets

include Defendants’ misrepresentation, breach or inducement of a breach of a duty to maintain

secrecy of the trade secrets, breach of the Confidentiality Agreement, and breach of the Letter of

Intent.

          70.   Defendants, with intent to convert trade secrets that are related to a product or

service used in or intended for use in interstate or foreign commerce to the economic benefit of

Mission Measurement and Mission Metrics, and intending or knowing that the offense will injure

Mission Measurement and Mission Metrics, did knowingly the following:

                a.      stole, or without authorization, removed, concealed, or by fraud, artifice,

                        or deception obtained such information;

                b.      without authorization copied, duplicated, sketched, photographed,

                        downloaded, uploaded, altered, destroyed, photocopied, replicated,

                        transmitted, delivered, sent, mailed, communicated, or conveyed such

                        information;

                c.      received or possessed such information, knowing the same to have been

                        stolen or appropriated, obtained, or converted without authorization;

                d.      attempted to commit any offense described in paragraphs (a) through (c);

                        or

                e.      conspired with one or more other persons to commit any offense described

                        in paragraphs (a) through (c), and one or more of such persons performed

                        an act to effect the object of the conspiracy.



                                                  17
     Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 18 of 54 PageID #:18




         71.   As a result of such misappropriation, Plaintiffs have suffered damages in an

amount to be determined at trial.

COUNT IV – TRADE SECRET MISAPPROPRIATION – ILLINOIS TRADE SECRETS
                         ACT (765 ILCS 1065)

         72.   Plaintiffs re-allege and incorporate by reference the allegations of paragraphs 1

through 71 above as though fully set forth herein.

         73.   Mission Measurement owns valuable trade secrets that were disclosed to

Defendants pursuant to the Confidentiality Agreement, the Letter of Intent and the parties’

course of dealing.

         74.   Defendants knew or had reason to know that such trade secrets are confidential

and proprietary to Mission Measurement.        However, despite such knowledge, Defendants

improperly used for themselves and disclosed to third parties such trade secrets without Mission

Measurement’s express or implied consent.

         75.   As a result of Defendants’ misappropriation and breach of the Confidentiality

Agreement and Letter of Intent, Plaintiffs have been damaged in an amount to be determined at

trial.

                          COUNT V – PROMISSORY ESTOPPEL

         76.   Plaintiffs re-allege and incorporate by reference the allegations of Paragraph 1

through 75 above as though fully set forth herein.

         77.   Defendants made unambiguous promises to Mission Measurement, inter alia, that

the jointly developed software product is jointly owned and that the value obtained and revenues

derived therefrom would be equitably paid to Mission Measurement.

         78.   Mission Measurement reasonably and justifiably relied on these promises.

         79.   Mission Measurement’s reliance was expected and foreseeable by Defendants.


                                               18
    Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 19 of 54 PageID #:19




       80.     Mission Measurement relied on Defendants’ promises to its detriment.

       81.     As a result, Plaintiffs have been damaged in an amount to be determined at trial.

                             COUNT VI – BREACH OF CONTRACT

       82.     Plaintiffs re-allege and incorporate by reference the allegations of Paragraph 1

through 81 above as though fully set forth herein

       83.     Defendant MicroEdge promised Mission Measurement that the software product

described above is jointly owned by MicroEdge and Mission Measurement. MicroEdge further

promised that the parties would share the revenues from the sales of the product. Such promises

constitute a valid, enforceable contract with definite and certain terms.

       84.     Mission Measurement has performed and is still performing all of its required

obligations under such contract.

       85.     As stated above, Defendants have breached such contract by, inter alia, refusing

to acknowledge Mission Measurement’s joint ownership and by failing to pay Mission

Measurement its share of the revenues.

       86.     As a result of Defendants’ breach, Plaintiffs have suffered damages in an amount

to be determined at trial.

                             COUNT VII – UNJUST ENRICHMENT

       87.     Plaintiffs re-allege and incorporate by reference the allegations of Paragraph 1

through 86 above as though fully set forth herein.

       88.     Defendants have unjustly retained benefits to Mission Measurement’s and

Mission Metrics’ detriment, and Defendants’ retention thereof violates fundamental principles of

justice, equity, and good conscience.




                                                 19
    Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 20 of 54 PageID #:20




       89.     Defendants should be required to disgorge all monies, profits and gains they have

obtained or will unjustly obtain in the future at the expense of Plaintiffs, and a constructive trust

should be imposed thereof for the benefit of Plaintiffs.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief as follows:

               a.      A judgment that Defendants breached the valid, enforceable, written

       Confidentiality Agreement.

               b.      A judgment that Defendants breached the valid, enforceable, written

       Letter of Intent.

               c.      A preliminary injunction enjoining business activities – including the use,

       development, sourcing and marketing – for any programs, products or services of

       Defendants that incorporate, use or embody Mission Measurement’s trade secrets and

       other intellectual property.

               d.      A judgment awarding Plaintiffs compensatory damages as a result of

       Defendants’ breach of the Confidentiality Agreement and Letter of Intent, together with

       interest and costs for damages for which an adequate remedy at law exists, including lost

       profits, price erosion, a decrease in value to Plaintiffs’ business, the costs of researching

       and developing the trade secrets and costs to remedy the effects of the misappropriation.

               e.      Damages assessed against Defendants pursuant to the Defend Trade

       Secrets Act of 2016, 18 U.S.C. § 1831 et seq.

               f.      Damages under the Illinois Trade Secret Act including compensatory

       damages, unjust enrichment or restitution damages and reasonable royalty damages.




                                                 20
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 21 of 54 PageID #:21




         g.      Imposition of a constructive trust for the benefit of Plaintiffs as a vehicle

  for disgorgement of all monies, profits and gains Defendants have obtained or will

  unjustly obtain in the future at the expense of Plaintiffs.

         h.      A grant of a permanent injunction to eliminate the unfair advantage

  Defendants gained by using Mission Measurement’s trade secrets and other intellectual

  property and, more specifically, (i) an order that Defendants certify to the court that they

  have destroyed all documents and things that include or embody Mission Measurement’s

  trade secrets and other intellectual property; (ii) an order prohibiting the Defendants from

  reentering the market for the offending products or services for a period specified by the

  court; (iii) an order that Defendants refrain from selling their existing inventory of

  offending products; (iv) an order for a procedure for contacting customers and removing

  the products and a certification of the same; and (v) an order for a procedure for

  inspecting Defendants’ premises to ensure that the trade secrets and other intellectual

  property are no longer used.

         i.      Punitive damages for Defendants’ willful and wanton misappropriation

  and tortious conduct.

         j.      Exemplary damages pursuant to the Defend Trade Secrets Act of 2016 and

  765 ILCS 1065/4 for Defendants’ willful and malicious conduct.

         k.      Expenses, costs and attorneys’ fees.

         l.      Such other and further relief as the Court deems just and proper.




                                            21
     Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 22 of 54 PageID #:22




                                   JURY TRIAL DEMANDED

        Plaintiffs hereby demand a trial by jury of all issues triable by a jury.



Dated: June 8, 2016                            Respectfully submitted,



                                       By:       /s/ Joseph A. Mahoney
                                               Joseph A. Mahoney (ARDC No. 6269237)
                                               Richard A. Assmus (ARDC No. 6255570)
                                               MAYER BROWN LLP
                                               71 South Wacker Drive
                                               Chicago, IL 60606
                                               (312) 782-0600
                                               (312) 701-7711 (fax)

                                               Counsel for Mission Measurement Corporation and
                                               Mission Metrics, LLC




                                                  22

720542124
     Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 23 of 54 PageID #:23




                                    Index of Exhibits

Exhibit No.    Description
1              Confidentiality and Non-Disclosure Agreement dated June 26, 2012
2              Email string between Kristine Nimsger and Jason Saul dated April/May 2014
3              Press Release – “MicroEdge Enters Into Agreement of Sale with Blackbaud,
               Inc.,” dated September 2, 2014
4              Email from Charles Vanek to Jason Saul dated September 3, 2014
5              Press Release – “Blackbaud’s MicroEdge Business Unveils Outcomes Solution
               for the Giving Community at MESC@Bbcon,” dated October 26, 2015
6              Press Release – “Blackbaud Launches Tranformational Outcomes Solution to
               Accelerate Impact in the Giving Community,” dated February 4, 2016
7              Blackbaud Outcomes – Product screenshots from webinar posted on 12/10/15
               on www.youtube.com




720700188
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 24 of 54 PageID #:24




                      EXHIBIT 1
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 25 of 54 PageID #:25
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 26 of 54 PageID #:26
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 27 of 54 PageID #:27
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 28 of 54 PageID #:28
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 29 of 54 PageID #:29




                      EXHIBIT 2
                   Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 30 of 54 PageID #:30

     Jaso n Saul

     From:
                                        Kris Nimsg er <knim sger@ micro edge. com>
     Sent:                              Mond ay, May 26, 2014 8:43 PM
     To:                                Jason Saul
     Subject:                           RE: Call with Kris Nimsg er



  Slight ly swam ped but we are movin g along . How
                                                    are you?


 From: Jason Saul [mail to:jsa ul@m ission measu
                                                 remen t.com ]
 Sent: Friday , May 23, 2014 8:36 AM
 To: Kris Nimsg er
 Subject: Re: Call with Kris Nimsg er


 Hey Kris. How' d board mtg go? I know you'r
                                             e swam ped no worri es.


 From: Kris Nimsg er
 Sent: Thurs day, May 1, 2014 10:44 AM
 To: Jason Saul
 Cc: Charl es Vanek
 Subject: RE: Call with Kris Nimsg er


 Yes Jason . We have a produ ct strate gy in draft
                                                    forma t and we are bringi ng it to the Board on
                                                                                                    Tuesd ay for their review -
 which would includ e integr ation of your taxon
                                                   omy as well as a broad er set of functi ons. Appre
                                                                                                      ciate your patien ce as we
 finaliz e our strate gy.


 Best
 K


From: Jason Saul [mail to:jsa ul@m ission measu
                                                remen t.com ]
Sent: Thurs day, May 01, 2014 10:28 AM
To: Kris Nimsg er
Subject; Re: Call with Kris Nimsg er


Kris, hi. Wher e did we leave off? Are you
                                           still inten ding to proce ed?


From: Kris Nimsg er
Sent: Friday , April 11, 2014 3:12 PM
To: Jason Saul
Subject: RE: Call with Kris Nimsg er


Thank you 11 Have a great week end.


From: Jason Saul [mail to:isa ul@m ission measu
                                                remen t.com ]
Sent: Friday , April 11, 2014 2:37 PM
To: Kris Nimsg er; Jason Saul
Subje ct: Re: Call with Kris Nimsg er




                                                                 i
              Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 31 of 54 PageID #:31

 Good. Cool stuff. Checkout btw


 http;//www.theguardian.com/social-enterprise-network/2014/apr/ll/social-impact-measuremen
                                                                                                       t-algorithm
 and
 http://www.ssireview.org/blog/entry/introducing_the_impact_genome_project


 From: Kris Nimsger
 Sent: Friday, April 11, 2014 2:32 PM
 To: Jason Saul
 Subject: RE: Call with Kris Nimsger


Making progress on our end... will be back to you soon.


Kris


From: Jason Saul fmailto:isaul (5)missionm easurement.c om1
Sent: Friday, April 04, 2014 11:28 AM
To: Kris Nimsger
Subject: RE: Call with Kris Nimsger


gotcha.


From: Kris Nimsger [mailto:knim sQer(amicro edae.com]
Sent: Friday, April 04, 2014 11:27 AM
To: Jason Saul
Subject: RE: Call with Kris Nimsger

Jason, PS, there is a blizzard in MN and I'm working from home. Please use the cell 612-991-779 6


    Original Appointmen t
From: Jason Saul fmailto:isaul (S)missionm easurement.c om1
Sent: Friday, April 04, 2014 8:45 AM
To: Jason Saul; Kris Nimsger
Subject: Call with Kris Nimsger
When: Friday, April 04, 2014 11:30 AM-12:00 PM (UTC-06:00) Central Time (US & Canada).
Where: Jason to cal Kris- 646.237.398 0




CONFIDENTIALITY NOTICE: This communication is confidential, may be privileged and is meant only for
the intended recipient. If you are not the intended recipient, you may not disclose, copy or use it. Please notify
the sender ASAP and delete any copies from your system You should protect your system from viruses etc.; we
accept no responsibility for damage that may be caused by them.                              -                     -


CONFIDENTIALITY NOTICE: This communication is confidential, may be privileged and is meant only for
the intended recipient. If you are not the intended recipient, you may not disclose, copy or use it. Please notify
the sender ASAP and delete any copies from your system You should protect your system from viruses etc.; we

                                                              2
              Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 32 of 54 PageID #:32
accept no responsibility for damage that may be caused by them.



CONFIDENTIALITY NOTICE: This communication is confid
                                                                   ential, may be privileged and is meant only for
the intended recipient. If you are not the intended recipient, you
                                                                    may not disclose, copy or use it. Please notify
the sender ASAP and delete any copies from your system You
                                                                  should protect your system from viruses etc.; we
accept no responsibility for damage that may be caused by them.
                                                                              -                                   —


CONFIDENTIALITY NOTICE: This communication is confid
                                                                  ential, may be privileged and is meant only for
the intended recipient. If you are not the intended recipient, you
                                                                   may not disclose, copy or use it. Please notify
the sender ASAP and delete any copies from your system You
                                                                 should protect your system from viruses etc.; we
accept no responsibility for damage that may be caused by them.



CONFIDENTIALITY NOTICE: This communication is confid
                                                                  ential, may be privileged and is meant only for
the intended recipient. If you are not the intended recipient, you
                                                                   may not disclose, copy or use it. Please notify
the sender ASAP and delete any copies from your system You
                                                                 should protect your system from viruses etc.; we
accept no responsibility for damage that may be caused by them.




                                                       3
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 33 of 54 PageID #:33




                      EXHIBIT 3
News - MicroEdge Enters into Agreement of Sale with Blackbaud, Inc.             Page 1 of 3
       Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 34 of 54 PageID #:34


                                                                                    Ca re e r s   |   N e ws r oo m   |   C o n ta c t U s
                                                                                         Enter Keywords




                                              WHO WE SERVE            PRODUCTS           LEARNING+SERVICES                   COMPANY




     News
     MicroEdge Enters Into Agreement Of Sale With Blackbaud, Inc.




     Recent News
                                              MicroEdge Enters Into Agreement Of Sale With Blackbaud, Inc.
     Blackbaud Releases Significant Updates
     to Employee Giving and Volunteering
     Cloud Solution                           Acquisition connects giving and nonprofit communities to enable greater efficiency,
                                              collaboration and social impact
     Blackbaud Launches Transformational
     Outcomes Solution to Accelerate Impact
     in the Giving Community                  New York, NY, September 2, 2014 – MicroEdge LLC, the leading provider of technology
                                              solutions for the charitable giving community, today announced it has entered into an agreement
     Blackbaud’s MicroEdge Business
     Unveils Outcomes Solution for the        to be acquired by Blackbaud, Inc. (Nasdaq: BLKB), a leading global provider of software and
     Giving Community                         services for nonprofits. This acquisition unites MicroEdge’s comprehensive technology solutions
     MicroEdge Annual Solutions Conference
                                              for grantmaking, corporate social responsibility and foundation management with Blackbaud’s
     Convenes Funders and Nonprofits          portfolio of software and services for nonprofits, and uniquely positions the combined companies
                                              to serve the entire spectrum of the philanthropic sector.

                                              Under the purchase agreement for the transaction, Blackbaud will acquire all of the outstanding
     Upcoming Events
                                              equity interests of MicroEdge for an aggregate purchase price of $160 million. The closing of the
     06.07.16 Indiana Philanthropy Alliance   transaction is expected to occur in the fourth quarter of 2014, subject to customary closing
     2016 Statewide Conference                conditions, including the expiration or termination of the applicable waiting periods under the Hart-
     06.23.16 Texas FIMS User Group
                                              Scott-Rodino Antitrust Improvement Act of 1976, as amended. Blackbaud expects to finance the
                                              acquisition with cash on hand and borrowings under its existing credit facility.
     06.27.16 POL 2016 Conference on
     Volunteering & Service                   "We’re enthusiastic about the potential for our clients and our team as we join Blackbaud,” said
                                              MicroEdge CEO Kristin Nimsger. “Blackbaud has a rich heritage of technology leadership in the
                                              nonprofit sector, and MicroEdge is a leading provider of software solutions for foundations in the
     Request Info                             charitable giving community. No two companies are better positioned to connect these segments
                                              of the market together. This collaboration will significantly improve efficiency and accelerate our
     Call Us: 888.388.1289         or         goal of helping our mutual clients effectively measure the outcomes of their work."

      Request Form                            MicroEdge’s suite of products delivers a powerful, integrated and open framework for efficient and
                                              effective charitable giving. The company provides innovative solutions that help thousands of
                                              organizations raise, invest, manage, and award charitable currency.

                                              For more than 30 years, Blackbaud has provided the nonprofit and education sectors with
                                              innovative technology and expertise to help them achieve their missions. The company services
                                              more than 30,000 customers in 60 countries with comprehensive solutions for fundraising,
                                              eMarketing, advocacy, constituent relationship management (CRM), financial management,
                                              payment solutions, analytics, and vertical-specific solutions. Using Blackbaud technology, clients
                                              raise over $100 billion each year.

                                              “We’re pleased to bring MicroEdge’s innovative solution set into the Blackbaud portfolio of
                                              offerings,” said Blackbaud president and CEO, Mike Gianoni. “Combining our 33 years of
                                              research and development with MicroEdge’s deep experience in these unique markets will
                                              position Blackbaud to expand its total addressable market, while offering an unprecedented set of
                                              technology solutions to address the needs of funders, nonprofits and corporations.”

                                              “This acquisition creates a tremendous opportunity for Blackbaud to offer more customers new
                                              innovation and end-to-end solutions to meet their needs,” said Joe Moye, president of




https://www.microedge.com/About/Newsroom/PressRelease/090214_MicroEdge_Enters_in... 6/2/2016
News - MicroEdge Enters into Agreement of Sale with Blackbaud, Inc.             Page 2 of 3
       Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 35 of 54 PageID #:35


                             Blackbaud’s Enterprise Business Unit. “In addition to partnering with new charitable foundation
                             customers, we also intend to extend MicroEdge’s Corporate Social Responsibility offerings to help
                             companies maximize their philanthropic impact through cutting edge administration, reporting,
                             employee engagement, and other capabilities.”

                             MicroEdge is a portfolio company of Vista Equity Partners and Bregal Sagemount. Harris Williams
                             & Co. and Kirkland & Ellis served as the advisors to MicroEdge, and Evercore and Davis Polk
                             served as the advisors to Blackbaud.

                             “MicroEdge’s leadership team has done a fantastic job over the past five years driving product
                             innovation, maintaining strong customer loyalty and creating a broader vision for how technology
                             can benefit the giving community,” said Alan Cline, principal at Vista Equity Partners. “Blackbaud
                             is an excellent home for this business given their adjacent market positions within the giving and
                             nonprofit communities, and I anticipate an acceleration of MicroEdge’s strategic vision as a result.”

                             MicroEdge is headquartered in New York. Blackbaud is headquartered in Charleston, South
                             Carolina, with operations around the globe. To review Frequently Asked Questions regarding the
                             acquisition, please visit the MicroEdge website at www.microedge.com/Blackbaud.




                             About MicroEdge
                             Established in 1985, MicroEdge, LLC, is the leading provider of software and services to the
                             giving community worldwide. MicroEdge solutions deliver a powerful, integrated, and open
                             framework for efficient and effective charitable giving. The company is committed to providing the
                             best technology toolset for foundations, corporations, government agencies, donors, advisors and
                             financial institutions. Together, these tools help organizations to work with one another to raise,
                             invest, manage and award charitable currency. MicroEdge is headquartered in New York City with
                             regional offices throughout the U.S. and supports thousands of clients worldwide. To learn more
                             about MicroEdge, visit www.microedge.com.

                             About Blackbaud
                             Serving the nonprofit and education sectors for more than 30 years, Blackbaud (NASDAQ:BLKB)
                             combines technology and expertise to help organizations achieve their missions. Blackbaud works
                             with more than 30,000 customers in over 60 countries that support higher education, healthcare,
                             human services, arts and culture, faith, the environment, private K12 education, animal welfare
                             and other charitable causes. The company offers a full spectrum of cloud-based and on-premise
                             software solutions and related services for organizations of all sizes including: fundraising,
                             eMarketing, advocacy, constituent relationship management (CRM), financial management,
                             payment solutions, analytics, education solutions and vertical-specific solutions. Using Blackbaud
                             technology, these organizations raise more than $100 billion each year. Recognized as a top
                             company by Forbes, InformationWeek, and Software Magazine and honored by Best Places to
                             Work, Blackbaud is headquartered in Charleston, South Carolina and has operations in the United
                             States, Australia, Canada, the Netherlands, Ireland and the United Kingdom. For more
                             information, visit www.blackbaud.com.

                             About Vista Equity Partners
                             Vista Equity Partners, a U.S.-based private equity firm with offices in Austin, Chicago and San
                             Francisco, with approximately $13 billion in cumulative capital commitments, currently invests in
                             dynamic, successful technology-based organizations led by world-class management teams with
                             long-term perspective. Vista is a value-added investor, contributing professional expertise and
                             multi-level support towards companies realizing their full potential. Vista’s investment approach is
                             anchored by a sizable long-term capital base, experience in structuring technology-oriented
                             transactions, and proven management techniques that yield flexibility and opportunity in private
                             equity investing. For more information, please visit www.vistaequitypartners.com.

                             About Bregal Sagemount
                             Bregal Sagemount is a growth-focused private equity fund with $500 million in committed capital.
                             Bregal Sagemount makes investments of $15 million to $150 million in market leaders in high
                             growth segments. For more information, please see www.bregalsagemount.com.



                             MicroEdge Media Contact
                             Kathy Krais
                             800.899.0890     ext. 3966
                             kkrais@microedge.com




https://www.microedge.com/About/Newsroom/PressRelease/090214_MicroEdge_Enters_in... 6/2/2016
News - MicroEdge Enters into Agreement of Sale with Blackbaud, Inc.             Page 3 of 3
       Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 36 of 54 PageID #:36


                                                     Blackbaud Media Contact
                                                     Nicole McGougan
                                                     Blackbaud, Inc.
                                                     843.654.3307
                                                     media@blackbaud.com

                                                     MicroEdge is a trademark and/or service mark of MicroEdge, LLC. AngelPoints, GIFTS, GIFTS
                                                     Alta, GIFTS Alta Blueprint, and GIFTS Online are trademarks of MicroEdge, LLC. All other
                                                     company names or marks mentioned herein are those of their respective owners.

                                                                                        Copyright © 2014, MicroEdge, LLC

                                                                                                         ###




  Who We Serve | Products | Learning+Services | Company | Newsroom | Contact Us                                            Follow:



                                                                                                                       Get MicroEdge products and services.
                                                                                                                                                       Call




  © 2016, MicroEdge, LLC. All Rights Reserved. | Privacy Statement | Safe Harbor Notice | Terms of Use




                                                                                                                                                888.388.1289
                                                                                                                                         for ordering details.




https://www.microedge.com/About/Newsroom/PressRelease/090214_MicroEdge_Enters_in... 6/2/2016
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 37 of 54 PageID #:37




                      EXHIBIT 4
             Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 38 of 54 PageID #:38




From: Charles Vanek [mailto:cvanek@microedge.com]
Sent: Wednesday, September 03, 2014 2:05 PM
To: Jason Saul <jsaul@missionmeasurement.com>
Subject: RE: MicroEdge Sold

Yes, we should. The radio silence over the last several months was due to this deal. We should talk rather than write.
I’m a little stacked today, but very open tomorrow if you are. CV

From: Jason Saul [mailto:jsaul@missionmeasurement.com]
Sent: Wednesday, September 03, 2014 2:01 PM
To: Charles Vanek
Subject: RE: MicroEdge Sold

Hey cool!! Well let’s discuss

From: Charles Vanek [mailto:cvanek@microedge.com]
Sent: Wednesday, September 03, 2014 1:48 PM
To: Jason Saul
Subject: RE: MicroEdge Sold

Well, the sale is a very good outcome. I have, along with all of the other Sr. Team members, signed an employment
agreement with Blackbaud. So, going to do that corporate thing again.

From: Jason Saul [mailto:jsaul@missionmeasurement.com]
Sent: Wednesday, September 03, 2014 1:44 PM


                                                            1
             Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 39 of 54 PageID #:39
To: Charles Vanek
Subject: RE: MicroEdge Sold

Saw that…
What are implications for you!?

From: Charles Vanek [mailto:cvanek@microedge.com]
Sent: Wednesday, September 03, 2014 1:44 PM
To: Jason Saul
Subject: MicroEdge Sold

http://online.wsj.com/article/PR‐CO‐20140902‐914122.html
Please call to discuss implications. CV
-----------------------------------------------------------------------------------------------------------------------
CONFIDENTIALITY NOTICE: This communication is confidential, may be privileged and is meant only for
the intended recipient. If you are not the intended recipient, you may not disclose, copy or use it. Please notify
the sender ASAP and delete any copies from your system You should protect your system from viruses etc.; we
accept no responsibility for damage that may be caused by them. --------------------------------------------------------
---------------------------------------------------------------
-----------------------------------------------------------------------------------------------------------------------
CONFIDENTIALITY NOTICE: This communication is confidential, may be privileged and is meant only for
the intended recipient. If you are not the intended recipient, you may not disclose, copy or use it. Please notify
the sender ASAP and delete any copies from your system You should protect your system from viruses etc.; we
accept no responsibility for damage that may be caused by them. --------------------------------------------------------
---------------------------------------------------------------
-----------------------------------------------------------------------------------------------------------------------
CONFIDENTIALITY NOTICE: This communication is confidential, may be privileged and is meant only for
the intended recipient. If you are not the intended recipient, you may not disclose, copy or use it. Please notify
the sender ASAP and delete any copies from your system You should protect your system from viruses etc.; we
accept no responsibility for damage that may be caused by them. --------------------------------------------------------
---------------------------------------------------------------




                                                           2
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 40 of 54 PageID #:40




                      EXHIBIT 5
News - Blackbaud’s MicroEdge Business Unveils Outcomes Solution for the Giving Com... Page 1 of 2
       Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 41 of 54 PageID #:41


                                                                                     Ca re e r s   |   N e ws r oo m   |   C o n ta c t U s
                                                                                          Enter Keywords




                                              WHO WE SERVE            PRODUCTS            LEARNING+SERVICES                   COMPANY




     News
     Blackbaud’s MicroEdge Business Unveils Outcomes Solution For The Giving Community At MESC@Bbcon




     Recent News
                                              Blackbaud’s MicroEdge Business Unveils Outcomes Solution For The
     Blackbaud Releases Significant Updates   Giving Community At MESC@Bbcon
     to Employee Giving and Volunteering
     Cloud Solution
                                              Solution seamlessly measures program outcomes and impact, enhancing collaboration
     Blackbaud Launches Transformational
     Outcomes Solution to Accelerate Impact
                                              between funders and nonprofits
     in the Giving Community
                                              Charleston, S.C., October 26, 2015 – MicroEdge®, a Blackbaud, Inc. (NASDAQ: BLKB)
     Blackbaud’s MicroEdge Business           company and provider of solutions to the giving community worldwide, today unveiled its
     Unveils Outcomes Solution for the
     Giving Community                         transformational outcomes solution at the MicroEdge Solutions Conference (MESC@bbcon). The
                                              company’s outcomes solution solves key challenges experienced by funders and nonprofits as the
     MicroEdge Annual Solutions Conference
     Convenes Funders and Nonprofits          sector evolves from traditional philanthropy to social investing.

                                              As part of this shift to social investing, there is heightened demand for measuring funding
                                              outcomes and impact. Blackbaud’s outcomes solution connects, powers and accelerates
     Upcoming Events                          purposeful philanthropy by linking investments and actions to impact and achievement. This
                                              delivers a unified experience; bringing our expansive community together and effectively using
     06.07.16 Indiana Philanthropy Alliance
     2016 Statewide Conference                data and insights to provide shared knowledge among funders and nonprofits.

     06.23.16 Texas FIMS User Group           Blackbaud’s outcomes solution is the first platform that brings together funders and nonprofits
     06.27.16 POL 2016 Conference on
                                              under one umbrella for improved collaboration and mission alignment. In addition, the solution
     Volunteering & Service                   offers a first-of-its-kind outcomes measurement taxonomy that will continue to grow and evolve
                                              with use, getting smarter with each user interaction – a living record of social impact like no other.
                                              The taxonomy provides users with the flexibility to select from a system-wide, sector-sourced set
     Request Info                             of measurements or to enter their own in order to determine the success of their programs. This
                                              allows them to tell their impact story using statistics, results and a common language.
     Call Us: 888.388.1289         or
                                              “The ability to understand and measure outcomes and impact is the single greatest challenge
      Request Form                            facing the giving community today,” said Kristin Nimsger, CEO of MicroEdge. “Providing a
                                              powerful, easy-to-use solution is a vital part of Blackbaud’s mission to empower the sector in its
                                              ability to achieve the most meaningful results with the greatest amount of impact.”

                                              An early-adopter program begins at MESC@bbcon and participants will provide input into future
                                              features including the outcomes measurement taxonomy, analytics and user interface design.
                                              MicroEdge invites those interested in participating to contact kris@microedge.com for more
                                              information.


                                              About MicroEdge

                                              Established in 1985, MicroEdge is the leading provider of software and services to the giving
                                              community worldwide. MicroEdge solutions deliver a powerful, integrated and open framework for
                                              efficient and effective charitable giving. The company is committed to providing the best
                                              technology toolset for foundations, corporations, government agencies, donors, advisors and
                                              financial institutions. Together, these tools help organizations to work with one another to raise,
                                              invest, manage and award charitable currency. MicroEdge is a wholly owned subsidiary of
                                              Blackbaud, Inc., headquartered in New York City with regional offices throughout the U.S. and




https://www.microedge.com/About/Newsroom/PressRelease/102615_Blackbauds_MicroEd... 6/2/2016
News - Blackbaud’s MicroEdge Business Unveils Outcomes Solution for the Giving Com... Page 2 of 2
       Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 42 of 54 PageID #:42


                                                     supports thousands of clients worldwide. To learn more about MicroEdge, visit
                                                     www.microedge.com.

                                                     About Blackbaud

                                                     Serving the nonprofit, charitable giving and education communities for more than 30 years,
                                                     Blackbaud (NASDAQ:BLKB) combines technology solutions and expertise to help organizations
                                                     achieve their missions. Blackbaud works in over 60 countries to support more than 30,000
                                                     customers, including nonprofits, K12 private and higher education institutions, healthcare
                                                     organizations, foundations and other charitable giving entities, and corporations. The company
                                                     offers a full spectrum of cloud and on-premise solutions, and related services for organizations of
                                                     all sizes, including nonprofit fundraising and relationship management, eMarketing, advocacy,
                                                     accounting, payment, and analytics, as well as grant management, corporate social responsibility,
                                                     education and other solutions. Using Blackbaud technology, these organizations raise, invest,
                                                     manage and award more than $100 billion each year. Recognized as a top company, Blackbaud
                                                     is headquartered in Charleston, South Carolina and has operations in the United States, Australia,
                                                     Canada, Ireland and the United Kingdom. For more information, visit www.blackbaud.com.


                                                     Media Contact

                                                     Nicole McGougan
                                                     Public Relations
                                                     843.654.3307
                                                     nicole.mcgougan@blackbaud.com


                                                     Forward-looking Statements
                                                     Except for historical information, all of the statements, expectations, and assumptions contained in this news
                                                     release are forward-looking statements that involve a number of risks and uncertainties. Although Blackbaud
                                                     attempts to be accurate in making these forward-looking statements, it is possible that future circumstances might
                                                     differ from the assumptions on which such statements are based. In addition, other important factors that could
                                                     cause results to differ materially include the following: general economic risks; uncertainty regarding increased
                                                     business and renewals from existing customers; continued success in sales growth; management of integration of
                                                     acquired companies and other risks associated with acquisitions; risks associated with successful implementation of
                                                     multiple integrated software products; the ability to attract and retain key personnel; risks related to our dividend
                                                     policy and share repurchase program, including potential limitations on our ability to grow and the possibility that we
                                                     might discontinue payment of dividends; risks relating to restrictions imposed by the credit facility; risks associated
                                                     with management of growth; lengthy sales and implementation cycles, particularly in larger organization;
                                                     technological changes that make our products and services less competitive; and the other risk factors set forth
                                                     from time to time in the SEC filings for Blackbaud, copies of which are available free of charge at the SEC’s website
                                                     at www.sec.gov or upon request from Blackbaud's investor relations department. All Blackbaud product names
                                                     appearing herein are trademarks or registered trademarks of Blackbaud, Inc.




  Who We Serve | Products | Learning+Services | Company | Newsroom | Contact Us                                                       Follow:



                                                                                                                                     Get MicroEdge products and services.
                                                                                                                                                                     Call




  © 2016, MicroEdge, LLC. All Rights Reserved. | Privacy Statement | Safe Harbor Notice | Terms of Use




                                                                                                                                                                      888.388.1289
                                                                                                                                                              for ordering details.




https://www.microedge.com/About/Newsroom/PressRelease/102615_Blackbauds_MicroEd... 6/2/2016
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 43 of 54 PageID #:43




                      EXHIBIT 6
Blackbaud Launches Transformational Outcomes Solution to Accelerate Impact in the Gi... Page 1 of 4
       Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 44 of 54 PageID #:44




  Blackbaud Launches Transformational Outcomes
  Solution to Accelerate Impact in the Giving
  Community


   February 04, 2016 16:03 ET | Source: Blackbaud, Inc.

       New cloud solution unites funders and nonprofits, empowering them to measure program
                                outcomes and tell their impact stories

  CHARLESTON, S.C., Feb. 04, 2016 (GLOBE NEWSWIRE) -- Blackbaud, Inc. (NASDAQ:BLKB),
  the leading provider of software and services for the global philanthropic community, today
  announced the general availability of Blackbaud Outcomes™, its transformational cloud solution
  that solves key challenges experienced by funders and nonprofits as the sector evolves from
  traditional philanthropy to social, or impact investing.

  “Forward-thinking grantmakers and nonprofits know that achieving their missions depends on data:
  they use it to inform their decisions, measure their outcomes and impact, and to tell the stories of
  the great work they do,” said Andrew Wolk, CEO of Root Cause, a Blackbaud Outcomes partner.
  “Effective technology turns data into a bridge. As the giving sector shifts toward proving impact,
  technology can connect funders and their grantees as partners around shared goals,
  accountability, and results. It’s a powerful tool for increasing collaboration, driving higher
  performance, and improving people’s lives.”

  In this environment of increased focus on accountability and transparency, it has never been more
  important for the giving community to track and understand the specific and measurable impact of
  their programs so that they can make informed investment decisions. Blackbaud’s MicroEdge
  business has spent the past five years connecting with clients and other leaders in the sector,
  conducting over 5,000 interviews along the way to create this industry-changing solution. And with
  its sector-sourced outcomes measurement taxonomy, Blackbaud Outcomes is the first solution to
  provide a common outcomes measurement language, empowering funders and nonprofits to truly
  understand the impact they are making and to tell their success stories using statistics, results and
  a shared language.

  “Many of our clients have hundreds of grantees that are reporting metrics in hundreds of different
  ways, despite the fact that many of their programs support similar initiatives. With the outcomes
  measurement taxonomy in Blackbaud Outcomes, they will now be able to identify, track and report




https://globenewswire.com/news-release/2016/02/04/807934/0/en/Blackbaud-Launches-Tra... 6/2/2016
Blackbaud Launches Transformational Outcomes Solution to Accelerate Impact in the Gi... Page 2 of 4
       Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 45 of 54 PageID #:45


  on the most important metrics with consistency,” said Kristin Nimsger, president of Blackbaud’s
  Foundation and Corporate Markets Group.

  Blackbaud Outcomes is the company’s latest release in its modern cloud built exclusively for the
  philanthropic community. Leveraging Blackbaud SKY™ capabilities and powered by Microsoft
  Azure, this new solution connecting nonprofits and funders offers unprecedented innovation within
  the most secure, scalable and highest-performing cloud environment available.

  Blackbaud Outcomes is already receiving attention from industry experts for its analytical power
  and advancements in bridging the taxonomy divide. “By linking investments and actions to impact
  and achievement, Blackbaud Outcomes creates a data standard and common language across
  nonprofits and foundations. This also creates the opportunity for the philanthropic community and
  their grantee partners to learn from others, improve the outcomes they achieve, and better tell their
  results story,” said Gillian Williams, president of the Rensselaerville Institute.

  “Blackbaud Outcomes provides a unified experience that allows funders and nonprofits to better
  collaborate and align their missions through data and shared insights,” said Mike Gianoni,
  president and CEO of Blackbaud. “The launch of this Blackbaud SKY-enabled solution is just
  another example of how Blackbaud is not only empowering philanthropic organizations with
  modern, innovative and high-performance technology solutions, but also connecting this
  community together like no other partner to power an ecosystem of good.”

  For more information about Blackbaud Outcomes, visit www.blackbaud.com/outcomes.

  About Blackbaud

  Serving the worldwide philanthropic community for more than 30 years, Blackbaud
  (NASDAQ:BLKB) combines innovative software and services, and expertise to help organizations
  achieve their missions. Blackbaud works in over 60 countries to power the passions of
  approximately 35,000 clients, including nonprofits, K-12 private and higher education institutions,
  healthcare organizations, foundations and other charitable giving entities, and corporations. The
  company offers a full spectrum of cloud and on-premise solutions, as well as a resource network
  that empowers and connects organizations of all sizes. Blackbaud's portfolio of software and
  services support nonprofit fundraising and relationship management, eMarketing, advocacy,
  accounting, payments and analytics, as well as grant management, corporate social responsibility,
  and education. Using Blackbaud technology, these organizations raise, invest, manage and award
  more than $100 billion each year. Recognized as a top company, Blackbaud is headquartered in
  Charleston, South Carolina and has operations in the United States, Australia, Canada, Ireland and
  the United Kingdom. For more information, visit www.blackbaud.com.

  Forward-looking Statements

  Except for historical information, all of the statements, expectations, and assumptions contained in
  this news release are forward-looking statements that involve a number of risks and uncertainties,




https://globenewswire.com/news-release/2016/02/04/807934/0/en/Blackbaud-Launches-Tra... 6/2/2016
Blackbaud Launches Transformational Outcomes Solution to Accelerate Impact in the Gi... Page 3 of 4
       Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 46 of 54 PageID #:46


     including statements regarding the introduction of new products and product features, as well as
     the expected benefits of the new products and product features. Although Blackbaud attempts to
     be accurate in making these forward-looking statements, it is possible that future circumstances
     might differ from the assumptions on which such statements are based. In addition, other important
     factors that could cause results to differ materially include the following: general economic risks;
     uncertainty regarding increased business and renewals from existing customers; continued
     success in sales growth; management of integration of acquired companies and other risks
     associated with acquisitions; risks associated with successful implementation of multiple integrated
     software products; the ability to attract and retain key personnel; risks associated with
     management of growth; lengthy sales and implementation cycles, particularly in larger
     organization; technological changes that make our products and services less competitive; and the
     other risk factors set forth from time to time in the SEC filings for Blackbaud, copies of which are
     available free of charge at the SEC’s website at www.sec.gov or upon request from Blackbaud's
     investor relations department. All Blackbaud product names appearing herein are trademarks or
     registered trademarks of Blackbaud, Inc.

     Media Contact
     Nicole McGougan
     Public Relations
     843-654-3307
     nicole.mcgougan@blackbaud.com



Newswire Distribution Network & Management

      •      Home
      •      Newsroom
      •      RSS Feeds
      •      Send Releases
      •      Regulatory Filings
      •      Legal

© 2016 GlobeNewswire, Inc. All Rights Reserved.
ABOUT US

GlobeNewswire, a Nasdaq company, is one of the world's largest newswire distribution
networks, specializing in the delivery of corporate press releases financial disclosures and
multimedia content to the media, investment community, individual investors and the general
public.
CONTACT US

Corporate Headquarters                                 European Headquarters
2321 Rosecrans Avenue.                                 Nikolaj Plads 6
Suite 2200                                             P.O. Box 1040
El Segundo, CA 90245                                   Copenhagen, Denmark




https://globenewswire.com/news-release/2016/02/04/807934/0/en/Blackbaud-Launches-Tra... 6/2/2016
Blackbaud Launches Transformational Outcomes Solution to Accelerate Impact in the Gi... Page 4 of 4
       Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 47 of 54 PageID #:47


Phone: (800) 307-6627                            Phone: +45 33 77 03 77
Fax: (800) 307-3567                              Fax: +45 33 12 86 13




https://globenewswire.com/news-release/2016/02/04/807934/0/en/Blackbaud-Launches-Tra... 6/2/2016
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 48 of 54 PageID #:48




                      EXHIBIT 7
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 49 of 54 PageID #:49




                                    1
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 50 of 54 PageID #:50




                                    2
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 51 of 54 PageID #:51




                                    3
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 52 of 54 PageID #:52




                                    4
Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 53 of 54 PageID #:53




                                    5
                         Case: 1:16-cv-06003 Document #: 1 Filed: 06/08/16 Page 54 of 54 PageID #:54




OCUMENT NAME] | [DATE]
                                                             6
